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IN ’I`HE UNI'I`ED STATES DISTRICT COUR'I`
FOR THE EAS'I`ERN DISTRICT OF PENNSYLVANIA

 

PATRICE JENKINS
2134 N. ss“‘ sr. :
Phiiadelphia, PA 1913: z ctwa AcTIoN
Plaineff, :
No.:

 

V.

ARAMARK MANAGEMENT

SERVICES LIMITED PARTNERSHIP

1101 Market St. :

Philadeiphia, PA 19107 : JURY TRIAL DEMANDED
and :

UNIVERSITY OF PENNSYLVANIA

3101 Walnut St.

Philadelphia, PA 19104

Det`endants.

 

CIVIL AC'I'ION COMPLAINT

Plaintiff, Patrice Jenkins, by and through her undersigned counsel, hereby avers as

follows:
I. INTRODUCTION

1. Plaintiff has initiated this action to redress violations by Aramark Management
Services Limited Partnership and the University of Pennsylvania (hereinaj?er coilectiveiy
referred to as “Defendants” unless indicated otherwise) of the Age Discrirnination in
Empfoyment Act (“ADEA” - 29 U.S.C. §§ 621 et. seq.), Title VII of the Civil Rights Act of

1964, (“Title VII” ~ 42 U.S.C. §§ 2000d et. Seq.), 42 U.S.C. §1981, and the Pennsylvania Human

 

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Relations Act (“PHRA”).1 Plaintiff was subjected to discrimination based on her advanced age
and race and she suffered damages more fully described/sought herein.
II. JURISDICTION AND VENUE

2. This Court, in accordance With 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s
claims because this civil action arises under laws of the United States.

3. This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts With this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in International Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Det`endants are deemed to reside where they are subject
to personal jurisdicticn, rendering Det`endants residents of the Eastern Distxict of Pennsylvania.

5. Plaintiff is proceeding herein under the ADEA and Title VII and has properly
exhausted her administrative remedies with respect to such claims by timely filing a Charge of
Diserirnination with the Equal Ernployment Opportunity Comrnission (“EEOC”) and by filing
the instant lawsuit within ninety (90) days of receiving a notice of dismissal and/or right to sue

letter from the EEOC.

 

l Plaintiff Will move to amend her instant lawsuit to include a claim under the PHRA once her administrative
remedies are fully exhausted with the Pennsylvania Human Relaticns Ccinmissicn. Any claims under the PHRA
though would mirror the instant ADEA and Title VII claims identically.

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III. PARTIES

6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
iiill.

7. Plaintiff is an adult individual, with an address as set forth in the caption.

8. Defendant Ararnark Managernerit Services Lirnited Partnership (lzerefnafter

“Det`endant Aramark”) is a entity with a location at the above-captioned address which provides
food service, facilities and uniform services to hospitals, universities, school districts, stadiums
and other businesses around the world, including the University of Pennsylvania (where Plaintiff
physically worked).

9. Defendant University of Pennsylvania (“Defendant UOP”) is a university located
in Philadelphia, Pennsylvania.

10. Plaintiff physically worked at Defendant UOP in Philadelphia, PA since in or
about March of 2013 and was placed there through a contractor service company called SSC
Service Solutions/Compass Group, USA. However, even though she was paid SSC Service
Solutions/Cornpass Group, USA during her tenure with Defendant UOP, she was still treated in
all functional respects like an employee while working within Defendant UOP. For exampie,
Defendant UOP’s management had the ability to recommend discipline to Plaintiff, give
directive to Plaintiff, and have input in managerial decisions regarding Plairitiff’s employment
Thus, for the foregoing reasons, Defendant UOP may be treated as a single and/or joint employer
for purposes of the instant action.

11. In or about the Spring of 2016, Det`endant Arainark was announced as the new

service contractor for Defendant UOP, beginning on or about July l, 2016.

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12. When Defendant Ararnark became the new service contractor for Defendant
UOP, Defendant Ararnark and Defendant UOP jointly made decisions regarding the continued
employment of SSC Service Solutions/Cornpass Group, USA employees, including Plaintiff.

13. Therefore, based on the foregoing, Defendant Aramark may be treated as a single
and/or joint employer for purposes of the instant action.

14. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope
of their employment with and for Defendants.

IV. FACTUAL BACKGROUND

15. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

16. Plaintiff is a 40-year-old African-American (black) female.

17. Since in or about March of 2013, Plaintiff was employed and paid by a service
contractor company called SSC Service Solutions/Cornpass Group, USA; however, she was
physically working at Defendant UOP as an administrative assistant

lS. Plaintit`t` had physically worked at Defendant UOP for approximately 3 years,
wherein she was given directive by Defendants’ management and wherein Defendant UOP’s
management had input regarding managerial decisions pertaining to Plaintit`f’ s employment and
the employment of other employees of SSC Service Solutions/Compass Group, USA, including
but not limited to assigmnents, directives, discipline, and termination

19. During Plaintifl’s employment with Defendant UOP, one manager of Defendant
UOP, Wendy Sparks - Director of Housekeeping, exhibited discriminatory animus and hostility

towards older and African-American/black workers For example, on the occasions that Ms.

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Sparks would interact with Plaintiff, she was extremely rude, belittled Plaintiff, and tried to
blame Plaintift` for her mistakes Plaintiff did not see younger and/or non-black employees being
treated in the same way.

20. Plaintift` also observed Ms. Sparks and other management from Defendant UOP
single out other older and!or African-American (black) employees and attempt to push them out
and/or try and find reasons to terminate them.

21. In or about the Spring of 2016, Plaintiff was informed that Defendant Aramark
would officially be the new service contractor for Defendant UOP starting on or about July 1,
20l6.

22. Plaintit`f went on one interview with Defendant Aramark, wherein she interviewed
by two Caucasian individuals; however, she was not hired/retained Plaintiff was informed that
she was not hired to work for Defendant Aramark because they did not “see any opportunities for
[her] at this time.”

23. The reason given as to why Plaintiff was not hired is completely pretextual as she
was the only administrative assistant working for Defendant UOP’s housekeeping department at
the time that Defendant Ararnark assumed the services contract and therefore, was the most
experienced and qualified individual for the job.

24. Despite the fact that Plaintiff had worked at Defendant UOP for over 3 years and
had a solid work history, she was not retained and/or hired by Defendants and upon information
and belief she was replaced by a younger Caucasian female

25. In addition, other younger, Caucasian individuals were also hired from outside of
SSC Service Solutions/Compass Group, USA to fill vacant positions that older and/or African-

American (black) employees of SSC Service Solutions/Compass Group, USA used to hold.

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26. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were African-American (black) andfor over the age of 40 who were also not retained
despite their skills, work ethic, and seniority.

27. Because Plaintiff worked in the administrative office with several members of
Defendant UOP’s management, she specially observed Ms. Sparks participating in several
meetings and discussions with Defendant Aramarl<.

28. Upon information and belief, Ms. Sparks directly participated in Defendant
Aramark’s decision making process regarding who should be terminated and who should be
retained from SSC Service Solutions/Compass Group, USA when Defendant Aramark was
awarded the service contract with Defendant UOP.

29. Upon further information and belief, Defendants did not consider seniority,
discipline, or other neutral criteria and hired/retained younger and/or Caucasian employees to fill
vacant positions that older and/or African-American/black employees used to hold.

30. Plaintift` was terminated from Defendant UOP (due to Defendants’ decision not to
retain and/or hire her) on or about June 30, 2016.

31. Plaintiff believes and therefore avers that she was terminated andfor not retained
by Defendants because of her advanced age and/or because of her race.

First Cause of Action
Violations of the Age Discrimination in Employment Act §“ABEA”)
(Age Discrimination)
-Against Both Defendants-

32. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full

33. In or about the Spring of 2016, Plaintiff was informed that Defendant Aramark

would be the new service contractor for Defendant UOP starting on or about July l, 2016.

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34. In or about the Surnmer of 20l6, Plaintiff was informed that she had not been
retained and/or hired by Defendant Aramarlc to work at Defendant UOP and she was not
provided with any logical or legitimate reason as to why she had not be retained and/or hire.

35. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were over the age of 40 and were also not retained despite their skills, work ethic, and
seniority.

36. Upon information and belief, younger individuals were hired from outside SSC
Service Solutions/Compass Group, USA to fill vacant positions that older employees of SSC
Service Solutions/Compass Group, USA used to hold (including Plaintiff s position).

37. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding Who to retain and/or terminated from SSC
Service Solutions/Cornpass Group, USA.

38. Upon information and belief, Defendant UOP, specifically lvls. Sparks, directly
participated in the Defendant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group, USA when
Defendant Aramark was awarded the services contract with Defendant UOP.

39. Plaintiff believes and therefore avers that she was not retained and/or hired with
Defendants because of her advanced age.

40. These actions as aforesaid constitute unlawful discrimination under the ADA.

Second Cause of Action
Violations of 42 U.S.C. 5 1981 (“Sectiop 1981”)
(Race Discrirnination)
-Against Both Defendants-

41. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full

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42. In or about the Spring of 2016, Plaintiff was informed that Defendant Aramark
would be the new service contractor for Defendant UOP starting on or about July i, 2016.

43. fn or about the Summer of 2016, Piaintiff was informed that she had not been
retained and/or hired by Defendant Aramark to work at Defendant UOP and she was not
provided with any logical or legitimate reason as to why she had not be retained and/or hire.

44. There were multiple other employees of SSC Service Solntions/Cornpass Group,
USA who were also African~American (black) and were also not retained despite their skills,
work ethic, and seniority.

45. Non»black individuals were hired from outside SSC Service Solutions/Cornpass
Group, USA to fill vacant positions that African-American (biack) employees of SSC Service
Solutions/Cornpass Group, USA used to hold (including Plaintift"s position)

46. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria When making decisions regarding who to retain and/or terminated irorn SSC
Service Soiutions/Cornpass Group, USA.

47. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Aramark’s decision making process regarding Who should be
terminated and who should be retained from SSC Service Solutions/Cornpass Group USA when
Defendant Ararnark was awarded the services contract with Defendant UOP.

48. Plaintiff believes and therefore avers that she was not retained and/or hired by
Defendants because of her race.

49. These actions as aforesaid constitute unlawful discrimination under Section 1981.

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Third Cause of Action

Violations of Title VII

(Race Discrimination)
-Against Beth Defendants-

5(). The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full

51. In or about the Spring of 2016, Plaintiff was informed that Defendant Aratnark
would be the new service contractor for Defendant UOP starting on or about July 1, 20l6.

52. In or about the Summer of 2016, Plaintiff was informed that she had not been
retained and/or hired by Defendant Ararnark to work at Defendant UOP and she was not
provided with any logical or legitimate reason as to why she had not be retained and/or hire.

53. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were also African-Arnerican (black) and were also not retained despite their skills,
work ethic, and seniority.

54. Non-black individuals were hired from outside SSC Service Solutions/Compass
Group, USA to fill vacant positions that Ati'ican-American (black) employees of SSC Service
Solutions/Compass Group, USA used to hold (including Plaintiff’s position)

55. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding who to retain and/or terminated from SSC
Service Solutions/Cornpass Group, USA.

56. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Aramark’s decision making process regarding who should be

terminated and who should be retained from SSC Service Solutions/Cornpass Group USA when

Defendant Aramark was awarded the services contract with Defendant UOP.

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57. Plaintiff believes and therefore avers that she was not retained and/or hired by
Defendants because of her race.

58. These actions as aforesaid constitute unlawful discrimination under Title Vll.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting discrimination in
the future against any employee(s);

B. Defendants are to compensate Plaintitf, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, and benefits

C. Plaintiff is to be awarded actual damages, as well as damages for the pain,
suffering, and humiliation caused by Defendants’ actions;

D. Plaintiff is to be awarded liquidated and/or punitive darnages, as permitted by
applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be
appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct
and to deter Defendants or other employers from engaging in such misconduct in the future;

E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate; and

F. Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fees as provided by applicable federal and state law.

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Date: June 22, 2017

By:

ll

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

   

   

MW
3331 Street Rd.
Bldg. 2, Ste. 128
Bensalern, PA 19020

 

 

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IN THE UNITED STATES DIS’I`RICT COHRT
FOR THE EASTERN DISTRICT GF PENNSYLVANIA

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in accordance with the Clvil Justice Expense and Delay Reductlon Plan of this court, counsel for ' l
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filing the complaint and serve a oopg on all defendants (See § 1103 ofthe plan set forth on the reverse
side of this fonn. ln the event at a defendant does not agree with the plaintiff regarding md
designationq that efendant shall, with its first appearance submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managcment Track Desigiiation: Form specifying the track
itc which that defendant believes the case should bo assigned '

SELECT ONE OIi` THE FOLLOW!NG CASE MANAGEMENT TRACKS:
(a) Habcas Corpua -» Cascs brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary ofllealtl'i
and Humari Services denying plaintiff Social Security Beneiits. ( )

(c) Arbitration - Cases required to be designated for arbitration under I.ecal Civil Rule 53_2` ( ')

{d) Asbestos - Cases involving claims for personal injury or property damage from i
exposure to asbestos { ) .

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commonly referred to as complex and that need special or intense management by
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(f) Standard Management - Cases that do not fall into any one of the other tracks o< )
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UNITED STATES DISTRICT COURT

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l. (n) PLA|NT|FFS DEFENDANTS

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PARTNERSHIP, ET AL.
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Vl. CAUSE OF ACTION

Bi'ici`dcscn`ption oi`ezii.i_'ie'

 

Vl[. REQUESTED lN 0 CHECK iFTi'iiS IS A CLASS ACT|ON DEMAND S

Vioiations ofthe ADEA, 'I`itie VIl. 42USC1981 and the PA Human Reiatioris Act.

CHECK VES only ifdcmci.nded in complaint

 

 

 

 

COMPLAINT: UNDER RULE 23, F,R.Cv P\ .iuRY Di-;MAND: X ch 'Na
viii. RELATED cAsE(S)
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